Case 0:22-cv-61107-RAR Document 6 Entered on FLSD Docket 06/14/2022 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 0-22-CV-61107-RAR

 ANGELA HUGHES,

         Plaintiff,

 vs.

 ONCOLOGY & HEMATOLOGY
 ASSOCIATES OF WEST
 BROWARD, P.A. AND SUMIT
 SAWHNEY, M.D.,

         Defendants.
                                           /

                                     SUMMONS IN A CIVIL ACTION

 TO:     Sumit Sawhney, M.D.
         6814 NW 65 TER
         PARKLAND, FL 33067

         A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60
 days if you are the United States or a United States agency, or an officer or employee of the United States
 described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached
 complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must
 be served on the plaintiff or plaintiff’s attorney, whose name and address are:

                                           Brian H. Pollock, Esq.
                                           FairLaw Firm
                                           135 San Lorenzo Avenue
                                           Suite 770
                                           Coral Gables, FL 33146
                                           Tel:    (305) 230-4884
                                           brian@fairlawattorney.com

        If you fail to respond, judgment by default will be entered against you for the relief demanded in
 the complaint. You also must file your answer or motion with the court.

 Date: Jun 14, 2022                                        CLERK OF COURT


                                                           Signature of Clerk or Deputy Clerk
                                                                               s/ Mary Etienne
